Filed 10/21/19                                                                                    Case 19-21640                                             Doc 154




                                                            1    4
                                                                 Peter Cianchetta, SBN: 220971
                                                            2    CIANCHETTA & ASSOCIATES
                                                                 8788 Elk Grove Blvd., Suite 2A
                                                            3    Elk Grove, California 95624
                                                            4    Ph: (916) 685-7878
                                                                 plc@eglaw.net
                                                            5
                                                                 Attorney for Debora Leigh Miller-Zuranich
                                                            6

                                                            7                         UNITED STATES BANKRUPTCY COURT
                                                            8
                                                                                       EASTERN DISTRICT OF CALIFORNIA
                                                            9
                                                                     In re:                                     Case No. 2019-21640
                                                            10
 CIANCHETTA & ASSOCIATES




                                                            11       Debora Leigh Miller-Zuranich               DCN: PLC-08
                           8788 Elk Grove Blvd., Suite 2A




                                                            12                                 , Debtors        Hearing Date: November 5, 2019
                               Elk Grove, CA 95624




                                                            13                                                  Hearing Time: 9:30 AM
                                                                                                                Hon. Christopher D. Jaime
                                                            14                                                  Courtroom 32 - Dept B
                                                            15
                                                                  EXHIBITS IN SUPPORT OF MOTION TO RECONSIDER HEARING ON MOTION
                                                            16
                                                                                              TO CONVERT TO CHAPTER 7
                                                            17

                                                            18

                                                            19   EXHIBIT A – Tellone email confirming the refinanceing in progress with Debtor’s siblings

                                                            20   EXHIBIT B – Realtor Cornelius letter

                                                            21

                                                            22

                                                            23

                                                            24

                                                            25

                                                            26

                                                            27

                                                            28

                                                                                                             Page 1
Filed 10/21/19   Case 19-21640   Doc 154
Filed 10/21/19   Case 19-21640   Doc 154
Filed 10/21/19                                     Case 19-21640                                                Doc 154


    Desk of
    Stanley Cornelius
    Charles Kellum, Broker
    2329 Central Avenue, Alameda, CA 94501
    510.926.9440
    StanleyCornelius@aol.com
    DRE #01128054


    October 11, 2019
    Re:    30 Merlin Court, Oakland CA 94605


    To whom it may concern:
    In regard to the above property, the market value is approximately $875,000 with an estimated marketing time
    of 10 days. During that time, we anticipate multiple offers with the possibility of the property going above the
    $849,000 requested list price as we are presently in an appreciating market. While advertising to merely my
    database as coming soon I’ve had numerous prospective buyers express interest and are waiting for the property
    to hit the market. There is currently a buyer interested in purchasing the property and they are presently going
    through the financing pre-approval process. The interior of the property has been remodeled and shows
    well. We don’t anticipate any delays in getting this property sold and closed if it is allowed to hit the open
    market.


    Sincerely


    Stanley Cornelius
    Your Real Estate Economist
